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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTH DAKOTA

MOREHOUSE ENTERPRISES, LLC                )
d/b/a BRIDGE CITY ORDNANCE, ELIEZER       )
JIMENEZ, GUN OWNERS OF AMERICA, INC.,     )
and GUN OWNERS FOUNDATION,                )
                                          )                  Case No. 3:22-cv-00116-PDW-ARS
   Plaintiffs,                            )
                                          )
       v.                                 )
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS AND EXPLOSIVES; UNITED           )
STATES DEPARTMENT OF JUSTICE; and         )
STEVE DETTELBACH, DIRECTOR OF ATF,        )
                                          )
   Defendants.                            )
                                          )
__________________________________________)


                     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                         MOTION FOR EXTENSION OF TIME


       Come now, Plaintiffs, by and through counsel, and respond in opposition to Defendants’

Motion for Extension of Time, and state as follows:

   1. On April 22, 2022, Defendant ATF published the challenged Final Rule in the Federal

Register, a shockingly large omnibus enactment consisting of 98 pages of small, compressed text

that equates to 364 pages of double-spaced, 12-point type, along with a 141-page Regulatory

Impact Analysis, for a total of 505 pages (slightly more than a full ream of paper).

   2. On July 5, 2022, Plaintiffs filed their Complaint for Declaratory and Injunctive Relief (ECF

#1) in this Court, consisting of 154 pages and 61 exhibits, which was required to address the

numerous legal issues raised by the rulemaking.




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   3. Yesterday, July 25, 2022, Plaintiffs filed their Motion for Preliminary and/or Permanent

Injunction (ECF #14), along with a 27-page memorandum in support (ECF #14-1) and a motion

for leave to file excess pages (ECF #13).

   4. Nearly contemporaneously, Defendants filed a Motion for Extension of Time (ECF #15),

seeking “a 16-day extension of time until August 24, 2022” in order to respond. In support,

Defendants advance a cornucopia of arguments, including (i) that the case allegedly was not fully

served until 20 days after filing, (ii) that defense counsel of record has other engagements in the

coming weeks, (iii) that Plaintiffs’ memorandum is “overlength” by 7 pages, and (iv) that

Plaintiffs’ complaint and motion allegedly were filed too long after the Final Rule was announced.

Plaintiffs address each in turn.

   5. First, Defendants’ implication that Plaintiffs were dilatory in serving the Complaint is

wholly unfounded. The Complaint was sent to this Court’s clerk for filing on July 4, 2022 (a

holiday), and was docketed on July 5, 2022, with summons issued on the same date. The

Complaint was sent for service on July 13, 2022, to all Defendants plus the United States U.S.

Attorney’s Office, Civil Process Clerk for the District of Columbia (the office where counsel of

record for Defendants is located). See Proof of Service, ECF #12. This service was accomplished

on July 15, 2022. Then, out of an abundance of caution, Plaintiffs caused an additional copy of

the Complaint and Summons to be served (July 25, 2022) on the North Dakota U.S. Attorney’s

Office, although not specifically required under Rule 4(i)(1)(A)(ii), which provides for service

either to “to the US Attorney for the district where the action is brought” or “to the civil-process

clerk at the United States attorney’s office.”

   6. Either way, agents of the federal government have now been served six different times over

the past three weeks, and the government can hardly feign surprise about the existence of this case.




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      7. Second, Defendants can hardly claim to have an insufficient work force with which to

respond to Plaintiffs’ motion for preliminary injunction within the standard 14 days allotted by

D.N.D. Civ. L.R. 7.1(B). Indeed, the Department of Justice is a massive organization, describing

itself as “the world’s largest law office, employing more than 10,000 attorneys nationwide,” not

to mention additional staff, law clerks, paralegals, etc.1

      8. Nor can the government reasonably claim to have been surprised that Plaintiffs filed this

case. As the government’s motion acknowledges, Plaintiffs announced their intent challenge the

Final Rule quite publicly, which was covered by the news media, as early as April 10, 2022. In

reality, Plaintiffs GOA and GOF announced their plan to challenge the ATF rulemaking far earlier

than that, specifically warning ATF in their June 4, 2021 comments on the NPRM that litigation

would be forthcoming if the proposed rule was not withdrawn. See Exhibit “33” at 9. Indeed, the

Final Rule explicitly acknowledges that, “[b]ased on the comments received in opposition to this

rule, there is a reasonable possibility that this rule will be subject to litigation challenges.” Id. at

24730.

      9. Third, making the government’s request more unreasonable is its citation to Division 80 v.

Garland, No. 3:22-cv-00148 (S.D. Tex.), what Defendants repeatedly describe as a “parallel” case

to this one. ECF #15 at ¶2. There, Defendants took 25 days to file a 64-page brief which means

that they have a significant head start on filing a 27-page response in this case, and should not need

5 more days than they required in the Texas case to file 37 fewer pages. See Division 80 v.

Garland, No. 3:22-cv-00148 (S.D. Tex.), Document 16, filed on July 1, 2022. The government’s

math does not add up.




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    https://www.justice.gov/oarm.


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    10. Fourth, while Defendants seek to cast blame on Plaintiffs for not moving more quickly

(ECF #15 at ¶ 3) in the filing of this litigation, this allegation fails to take into account the massive

length and breadth of the Final Rule (505 pages of rulemaking and regulatory impact analysis,

promulgating dozens of new regulations, involving numerous different subjects of federal gun

law). Preparation of Plaintiffs’ complaint and memorandum (ECF #1 and #14-1) involved the

reading of thousands of pages of ATF classification letters, conversations with numerous members

of the firearms industry and community, consultations with subject matter experts, not to mention

the legal research, drafting, preparation of exhibits, etc. involved. In other words, Plaintiffs have

hardly been sitting on their rights.2

    11. As the Federal Register’s “Guide to the Rulemaking Process” explains, “[f]or complex

rulemakings, agencies may provide for longer time periods, such as 180 days or more.”3 If the




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  Defendants’ reliance on Indep.-All. Party of Minnesota v. Simon, __ F. Supp. 3d __, 2022 U.S.
Dist. LEXIS 87382 (D. Minn. May 16, 2022) is unavailing. That case involved a 2022 challenge
to a statute which had gone into effect in 2015, and where the plaintiff “has known of the issues it
raises here for several years,” including during intervening “past elections [where] the oath
requirement has created difficulties….” Id. at 19-20. Similarly, Defendants’ citation to Adventist
Health Sys./SunBelt, Inc. v. United States HHS, 17 F.4th 793, 805 (U.S. 8th Cir. 2021) is unhelpful,
because there the plaintiff waited to bring suit “until one year after Fixed Circle’s adoption, and
fewer than five days before its scheduled implementation.” That is hardly the case here. Rather,
as the Eighth Circuit in Adventist noted, “‘a party requesting a preliminary injunction must
generally show reasonable diligence.’” Id. (citation omitted). A case with similar timeframes,
Nevada v. United States DOL, 218 F. Supp. 3d 520, 525 (E.D. Tex. 2016) demonstrates that
Plaintiffs meet this standard. In that case, a group of States sued the Department of Labor (“DOL”)
over a Final Rule increasing the minimum salary level for exempt employees. That Rule was
published on May 23, 2016 (id. at 525) with an effective date of December 1, 2016 (a 192-day
implementation period). The States sued the DOL on September 20, 2016 (see Civil Action No.
4:16-CV-00731, Eastern District of Texas, Docket No. 1) and then, on October 12, 2016, filed
their motion for preliminary injunction. Id. After briefing, the court in that case held a hearing and
granted the injunction. Id. at 534. Since Plaintiffs have accomplished more, in less time, and with
limited resources than the government now proposes to do in responding to Plaintiffs’ motion,
Plaintiffs submit that perhaps it is the government (with its nearly unlimited resources) that is not
showing “reasonable diligence” in this litigation.
3
  https://www.federalregister.gov/uploads/2011/01/the_rulemaking_process.pdf.


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Final Rule does not qualify as “complex,” it is hard to see what would, and it was Defendants who

chose to make the Final Rule effective in only 120 days, not “180 days or more.” If the government

needs more time, it simply could publish a notice postponing the effective date of the Final Rule

to preserve the status quo and give this court additional time to act.

    12. In what does not appear to be a coincidence, the government seeks not a two-week

extension or a three-week extension to respond, but precisely a 16-day extension, very specifically

asking for a delay “through and including August 24, 2022,” the very day the Final Rule is

scheduled to take effect. Defendant’s motion thus seems carefully calculated to moot Plaintiffs’

motion for preliminary injunction and deprive Plaintiffs of the relief they seek (an order

maintaining the status quo and enjoining implementation of the Final Rule). ECF # 14-1 at 1.

    13. The government attempted a similar maneuver in the Division 80 case, seeking discovery

of the plaintiff that “would not conclude until August 17 or August 24” – again, the very day the

Final Rule is scheduled to take effect. See Division 80, Plaintiff’s Opposition to Defendant’s

Motion for Leave to Conduct Discovery, ECF #33 at 3. In spite of the government’s attempts at

delay, Judge Brown has ordered a hearing on Division 80’s preliminary injunction motion to occur

on August 9, 2022. Division 80, ECF #53.

    14. In other words, to grant Defendants’ motion for an extension is the equivalent of denying

Plaintiffs’ motion for a preliminary injunction. See Antonyuk et al v. Bruen, 22-cv-734 (N.D.N.Y),

Text Order ECF #12 (denying the state’s request for a briefing extension, the granting of which

“would deprive Plaintiffs of their right to have their motion for a preliminary injunction fairly and

justly decided, if not the very relief they are seeking.”).

    15. Plaintiffs certainly cannot consent to an extension that will, on its face, deny them the

preliminary relief they seek, and therefore must oppose Defendants’ Motion for Extension of Time




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(ECF #15). However, if Defendants would stipulate to this Court’s entry of a Preliminary

Injunction enjoining the Final Rule pending this Court’s ruling on the merits, Plaintiffs would

consent to whatever extension Defendants deem necessary.4

    16. This Court should reject the government’s attempts (like its attempts in Division 80) to

delay proceedings so that the Final Rule can go into effect without being subjected to legal

challenge. Thus, the Court should deny Defendants’ motion.

    Respectfully submitted, this the 26th of July, 2022.


/s/ Stephen D. Stamboulieh                           Robert J. Olson (VA # 82488)
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  This is similar what occurred in a challenge to a Final Rule issued by the Department of Health
and Human Services in a Medicare billing matter, and to the extent the Defendants need the extra
time, an interim order or stipulation staying implementation could be entered into here as well.
See Atl. Urological Assocs., P.A. v. Leavitt, 549 F. Supp. 2d 13, 15 (D.D.C. 2008) (“In order to
permit time for briefing and oral argument on the complex issues involved, the parties consented
to an Interim Order, entered February 8, 2008. The Interim Order set a briefing schedule (with
briefing completed on March 19, 2008) and a hearing on March 28, 2008. The Interim Order
further provided that Secretary would not apply the Anti-Markup Rule, as amended by the Final
Rule, until April 1, 2008. . .”).



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                                 CERTIFICATE OF SERVICE

       I Stephen D. Stamboulieh, hereby certify that I have on this day, caused the foregoing

document or pleading to be filed with this Court’s CM/ECF system, which caused a notice of the

filing and a true and correct copy of the same to be delivered to all counsel of record. Additionally,

I have caused this to be sent to the following non-ECF participants:

       By electronic mail to:

       Daniel Riess (TX Bar #24037359)
       Trial Attorney
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       1100 L Street, NW
       Washington, D.C. 200005
       Phone: 202-353-3098
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       Dated: July 26, 2022.


                                               /s/ Stephen D. Stamboulieh
                                               Stephen D. Stamboulieh




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